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                          UNITED STATES BANKRUPTCY COURT
                            DISTRICT OF SOUTH CAROLINA

   IN RE:

   The Muffin Mam, Inc.                                Case No. 21-02909-hb
                                                       Chapter 7
                    Debtor.


        CONSENT ORDER REGARDING PRE-PETITION EMPLOYEE WAGES

        THIS MATTER comes before the Court upon an agreement between The Muffin Mam,

Inc. (“Debtor”); John K. Fort (“Trustee”), the duly-appointed chapter 7 trustee of the Debtor’s

chapter 7 estate, (the “Estate”); Pinnacle Bank (“Bank”); and The Azalea Fund IV, Inc.

(“Shareholder”) regarding payment of pre-petition employee wages. Debtor filed a Motion for

Consent Order Authorizing Payment of Certain Pre-Petition Wages and Salaries (“Motion”),

which was addressed by the Court ex parte on November 30, 2021. The parties have advised the

Court as follows:

        1.      Bank is the principal secured creditor of the Debtor and holds blanket liens on all

the Debtor’s accounts.

        2.      Shareholder is a shareholder of the Debtor.

        3.      The Debtor filed the above-captioned voluntary petition for relief pursuant to

Chapter 7 of the United States Bankruptcy Code on November 9, 2021 (the “Petition Date”), and

the Trustee appointed as the Chapter 7 trustee of the Estate.

        4.      On November 8, 2021, the Debtor administered its payroll in the ordinary course

of business (the “Pre-Petition Payroll”). As many as sixty-six employees of the Debtor were paid

via check, and all of these payroll checks may not have been presented and/or cleared for payment

prior to the filing of the Debtor’s petition for relief on the Petition Date.
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        5.       There are funds in that certain payroll account of the Debtor with Bank (account

number -0216, the “Payroll Account”) sufficient to fund the Pre-Petition Payroll. However, Bank

is unable to clear checks presented after the filing of the Debtor’s petition for relief due to the

automatic stay provided under 11 U.S.C. § 362.1

        6.       There is also currently due $56,348.91 in payroll, including withholdings currently

due and owning with respect to former employees of the Debtor, (the “Stub Payroll Amount”) for

the pre-petition pay period beginning November 7, 2021, and ending with the filing of the petition

on the Petition Date (the “Stub Payroll”).

        7.       Notwithstanding that no claim has been asserted by Bank, Trustee, or any third

party alleging that Shareholder is obligated for the Stub Payroll Amount in any respect,

Shareholder has agreed, upon the terms and conditions below, to make a voluntary contribution to

the Estate for the sole purpose of funding the Stub Payroll.

        NOW THEREFORE, upon the agreement and stipulation of the parties, as evidenced by

the consenting signatures below, it his hereby ORDERED as follows:

        a)       Bank is authorized to honor, and shall honor, any checks presented for payment

relating to the Pre-Petition Payroll.

        b)       Shareholder shall make, or shall cause to be made, a voluntary contribution to the

Estate into the Payroll Account in the amount of the Stub Payroll Amount (the “Shareholder

Contribution”) within one business day of entry of this Order.




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 The automatic stay was lifted as to Bank’s collateral pursuant to the Court’s Order Modifying Automatic Stay
(Doc 28) entered on November 30, 2021.


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       c)      Upon receipt of the Shareholder Contribution into the Payroll Account, Bank is

authorized to honor, and shall honor, any checks presented for payment or other transfers relating

to the Stub Payroll in an aggregate amount not to exceed the Stub Payroll Amount, as set forth on

the payroll summary attached as Exhibit A to the Debtor’s Motion (Doc 22-1).

       d)      Bank and Trustee agree that Shareholder has agreed to make the Shareholder

Contribution merely as an accommodation to the Estate and to the employees of the Debtor. The

Shareholder Contribution shall not be construed as an admission of liability with respect to the

Stub Payroll, the Stub Payroll Amount, or any debts or obligations of the Debtor or the Estate.

       AND IT IS SO ORDERED.




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WE CONSENT:

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CHAPTER 7 TRUSTEE


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